Case 8:24-cr-00068-KKM-TGW      Document 128     Filed 05/21/25   Page 1 of 5 PageID 1020




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


  UNITED STATES OF AMERICA,

  v.                                           Case No: 8:24-cr-00068-KKM-TGW

  TIMOTHY BURKE,

        Defendant.
  ___________________________________

                                       ORDER

        A grand jury indicted Defendant Timothy Burke for violating the Computer

  Fraud and Abuse Act (CFAA), 18 U.S.C § 1030, and the Wiretap Act, 18 U.S.C.

  § 2511, and conspiring to do the same. Section 2511 is the only statute of concern

  here. The United States charges Burke with intentionally intercepting oral, wire, and

  electronic communications and then intentionally disclosing some of the

  communications to the public. 18 U.S.C. § 2511(1)(a), (c). In laymen’s terms, the

  government alleges that Burke hacked into a network, downloaded videos (including

  their audio component), and posted some of them online. Although the indictment

  charges that Burke intercepted all three forms of communications, the government’s

  theory is that these videos contained both electronic and wire communications, but
Case 8:24-cr-00068-KKM-TGW      Document 128     Filed 05/21/25   Page 2 of 5 PageID 1021




  not oral communications. For his part, Burke contends that he is a journalist who

  uncovered access to this network through publicly available means and exercised his

  First Amendment right to disseminate the materials. According to Burke, the

  Wiretap Act unconstitutionally infringes First Amendment protected activity and

  these counts must be dismissed.

        The Wiretap Act penalizes any person who “intentionally intercepts,

  endeavors to intercept, or procures any other person to intercept or endeavor to

  intercept, any wire, oral, or electronic communication.” 18 U.S.C. § 2511(1)(a). The

  Wiretap Act similarly punishes any intentional disclosure of “the contents” of these

  kinds of communications if a person knows the information was obtained through

  an unlawful interception. Id. § 2511(1)(c). Section 2511 includes several exceptions,

  exempting some conduct from its otherwise broad sweep. One such exception allows

  a private person “to intercept a wire, oral, or electronic communication . . . where

  such person is a party to the communication or where one of the parties to the

  communication has given prior consent to such interception.” Id. § 2511(2)(d).

  Another exception allows for the interception of an “electronic communication made

  through an electronic communication system that is configured so that such




                                           2
Case 8:24-cr-00068-KKM-TGW          Document 128        Filed 05/21/25      Page 3 of 5 PageID 1022




  electronic communication is readily accessible to the general public.” Id.

  § 2511(2)(g)(i).

         To “intercept” means “the aural or other acquisition of the contents of any

  wire, electronic, or oral communication through the use of any electronic,

  mechanical, or other device.” Id. § 2510(4). A “wire communication” is any “aural

  transfer”—that is, “a transfer containing the human voice”—made using a wire or

  cable. Id. § 2510(1), (18). An “electronic communication” is any transfer “of signs,

  signals, writing, images, sounds, data, or intelligence of any nature” made “in whole

  or in part by a wire, radio, electromagnetic, photoelectronic or photooptical system,”

  except that it does not include wire or oral communications. Id. § 2510(12).

         In an earlier round of briefing, Burke and the government disagreed as to

  whether the exceptions for “consent” and “readily accessible” were elements of the

  offense of intentional interception or defenses to those charges. As a matter of

  statutory text and structure and in the light of binding precedent, see United States v.

  McCann, 465 F.2d 147 (5th Cir. 1972), 1 I concluded that the exceptions were

  defenses rather than elements, see (Doc. 110).



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    In Bonner v. City of Prichard, the Eleventh Circuit adopted as binding precedent all decisions
  rendered by the United States Court of Appeals for the Fifth Circuit prior to the close of business
  on September 30, 1981. 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
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Case 8:24-cr-00068-KKM-TGW      Document 128      Filed 05/21/25   Page 4 of 5 PageID 1023




          Burke, now on his third motion to dismiss, argues that this reading of the

  Wiretap Act’s exceptions, combined with the government’s interpretation of “wire

  communication,” permits an unconstitutional prosecution, primarily violating the

  Free Speech Clause of the First Amendment. See (Doc. 125). Burke’s arguments

  raise novel questions with potential wide-reaching impact. In return, the

  government’s arguments at a previous hearing implicate technical questions about

  how the Wiretap Act applies to this case and much of modern technology,

  particularly whether a video containing the human voice transmitted over the

  internet constitutes a “wire” communication, an “electronic” communication, or

  both.

          To help resolve Burke’s third motion to dismiss the Wiretap Act counts,

  (Doc. 125), the Court invites amicus curiae to submit briefing, not to exceed 25

  pages each, on any of the questions below:

          (1)   Whether a video that includes both a human voice and visual data
                transmitted over the internet is an electronic communication, a wire
                communication, or both, as defined by 18 U.S.C. § 2510.
          (2)   Whether 18 U.S.C. § 2511(1)(a) prohibits a person watching a video
                on an internet streaming platform or visiting a public-facing webpage,
                without considering any of the statutory exceptions. If so, whether this
                interception would be deemed lawful by an exception in 18 U.S.C.
                § 2511, including whether such a viewer would have consent or would
                be a “party to the communication,” id. § 2511(2)(d). If not, why not.

                                            4
Case 8:24-cr-00068-KKM-TGW    Document 128     Filed 05/21/25   Page 5 of 5 PageID 1024




        (3)   Whether, to avoid the chilling of protected activity, the Free Speech
              Clause of the First Amendment requires the government, in some
              cases, to allege in the indictment and to negate at trial a statutory
              exception to a criminal offense. Specifically, whether the Free Speech
              Clause requires the government to negate the “readily accessible”
              statutory exception for electronic communications, 18 U.S.C.
              § 2511(2)(g)(i), when prosecuting an intentional interception of an
              electronic communication, id. § 2511(1)(a), and the statutory
              exceptions for “consent” and “a party to the communication,” id.
              § 2511(2)(d), when prosecuting an intentional interception of an
              electronic or wire communication, id. § 2511(1)(a).
        Amicus briefs are due no later than June 27, 2025.




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